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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


ANDREW RYAN LESLIE,
       Petitioner,
v.                                                    Case No. 3:19-cv-1300-J-39JBT
UNITED STATES OF AMERICA,
       Respondent.



 PETITIONER’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO VACATE,
    SET ASIDE, OR CORRECT JUDGMENT AND SENTENCE BY A PERSON IN
                         FEDERAL CUSTODY

       The Petitioner, Andrew Ryan Leslie (hereinafter referred to as “Mr. Leslie”), by and

through counsel of record, pursuant to 28 U.S.C. § 2255, hereby files this Memorandum of Law

in Support of Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody. Petitioner asserts six (6) grounds for which relief should be granted in support of his

motion. As will be discussed in more detail infra, 28 U.S.C. § 2255 lists multiple ways a prisoner

in custody under sentence of a court, claiming certain rights, may seek relief. It also explains

various reasons why such relief is appropriate. In pertinent part, the statute provides that when

“there has been such a denial or infringement of the constitutional rights of a prisoner as to render

the judgment vulnerable to collateral attack, the court shall vacate and set aside the judgment.” 28

U.S.C.S. § 2255(b) (LexisNexis) (LexisNexis, Lexis Advance through Public Law 116-158,

approved August 14, 2020). For the reasons set forth below, Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 should be granted as required by justice

when there has been a denial and infringement of his constitutional rights as a prisoner. This case
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stems from myriad issues of ineffective assistance of counsel in a Florida criminal case regarding

violations of 18 U.S.C. § 2255.



                                  STATEMENT OF THE FACTS


        In 2015, the United States Department of Homeland Security, Homeland Security

Investigations (“HSI”) was investigating websites that depicted child pornography. (Case 3:16-cr-

00154-BJD-JBT, Presentence Investigation Report (Doc. 50; “PSR”) at pg. 6 ¶ 8.) The following

year Mr. Leslie was identified as a member and administrator of websites that hosted and

exchanged child pornography. (Id. at pg. 7 ¶ 9.) On October 18, 2016, HSI agents obtained and

executed a search warrant for Mr. Leslie’s Florida residence. Upon their arrival, Mr. Leslie was

found present with a child (“Child 1”), and in possession of an unencrypted digital camera

containing pornographic images of Child 1 and an additional child (“Child 2”). (Id. at ¶10.)

        As part of the search of Mr. Leslie’s home, HSI seized and took into custody multiple

electronic devices, including computer media. (Id. at pg. 5-6 ¶ 6(d).) These materials were

encrypted, and the Government did not have access to them.

        The images of Child 1 and Child 2 on the digital camera formed the basis for Counts 1 and

2 in this case. (Id. at pg. 7 ¶ 9.) A federal grand jury indicted Mr. Leslie on October 27, 2016 1. (Id.

p. 4 ¶1.) On March 29, 2017, Mr. Leslie was also indicted in the Middle District of Tennessee

(Docket No.: 3:17-cr-00044-3, Id. at p.12, ¶63) on three charges, including participating in a child

exploitation enterprise.




1       The Presentence Report states incorrectly that the indictment was returned in 2017.
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        On December 1, 2016, Mr. Leslie entered into a proffer agreement between Assistant

United States Attorney D. Rodney Brown, Assistant Federal Public Defender Mark J. Rosenblum,

and himself. The agreement was memorialized by a letter. The agreement was confusing in that

it offered direct use immunity; however, the agreement specifically excluded immunity for “crimes

of violence.” The letter stated that the reason for the proffer was so that Mr. Leslie could talk to

the Government regarding child pornography, a crime of violence.

        More specifically, in this letter, Mr. Leslie agreed to provide information to the

Government about “potential violations of federal criminal laws, involving, but not necessarily

limited to, violations of 18 U.S.C. §§ 2241, 2251, 2251A, and 2252 et seq., pertaining to the sexual

abuse and exploitation of children.” (Case 3:19-cv-01300-BJD-JBT, Doc. 20-1, Attachment 1, pg.

1.)

        The letter stated that “except as provided below, in any prosecution brought by the United

States against [Mr. Leslie], no statements or other information provided by [Mr. Rosenblum or

Mr. Leslie] during the interview session will be admissible against [Mr. Leslie] in the

government’s case-in-chief or at sentencing.” (Id.) The letter further stated:

        [T]his grant of use immunity also does not extend to crimes of violence, unless
        specifically indicated herein. [Mr. Rosenblum and Mr. Leslie] understand that
        crimes of violence include, but are not limited to, violations of 18 U.S.C. §§ 2241-
        2245, 2251, 2251A, 2252A(g)—including conspiracy to violate these sections,
        attempt to violate these sections, and aiding and abetting violations of these
        sections—as well as the rape or sexual abuse of a minor.”


Id. at pg. 3. Continuing the letter specified:

        To avoid any misunderstanding, the specific terms of this grant of use immunity
        are: …



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       2.[Mr. Rosenblum and Mr. Leslie] understand that this grant of use immunity
       DOES NOT extend to information contained on encrypted digital devices, or
       encrypted portions of digital devices, currently in the custody of law enforcement
       pursuant to the search of [Mr. Leslie’s] residence conducted on October 18, 2016.
       [Mr. Leslie] agrees to provide any necessary passwords or passphrases in order to
       decrypt any such devices and understand that [Mr. Leslie] may face prosecution,
       without limitation, based on information contained therein. [Mr. Rosenblum and
       Mr. Leslie] also understand that this grant of use immunity DOES NOT extend to
       crimes of violence, unless specifically indicated herein. [Mr. Rosenblum and Mr.
       Leslie] understand that crimes of violence include, but are not limited to, violations
       of 18 U.S.C.—28 U.S.C. §§ 2241-2245, 2251, 2251A, 2252A(g) conspiracy to
       violate these sections, attempt to violate these sections, and aiding and abetting
       violations of these sections—as well as the rape or sexual abuse of a minor.


       There were multiple occasions where Mr. Leslie provided information to HSI special

agents and defense counsel. (Case 3:16-cr-001540BJD-JBT, Doc. 50, pg. 8, ¶ 17.) Mr. Leslie

provided his passwords and passphrases to the Government, in order to open and decrypt the

computer hard drives and storage media. It should be noted that but for the forty-two (42) images

on the Toshiba SD card, all other child pornography was locked with sophisticated encryption

software and unavailable to forensic examiners. Law enforcement used passwords and

passphrases, provided by Mr. Leslie to unencrypt the computers and storage devices. Upon

receiving the passwords, the media was forensically examined.

       Law enforcement estimated that Mr. Leslie had “produced, received, distributed, and

possessed numerous images and videos depicting child pornography.” (Id. at pg. 7, ¶ 13.) Included

on the computer hard drives were transcripts or “logs” of online conversations between Mr. Leslie

and another “online” companion. In these logs, Mr. Leslie discussed engaging in sexual activity

with several minor children. (Id. at pg. 8, ¶ 13.) Along with his online companion, Mr. Leslie

discussed “adopting or fostering toddlers in order to be able to sexually abuse them.” Id.

Ultimately, law enforcement determined “there were five children who had been sexually abused

by Mr. Leslie.” (Id. at ¶ 15.) There were only two children depicted on the Toshiba SD card and

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all photos were taken on the same day. (Guilty Plea- Factual Basis, Case 3:16-cr-00154-BJD-JBT,

PageID 69.)

       Forensic review of Mr. Leslie’s electronic devices revealed approximately 33,000 images

and videos of child pornography. These images included videos Leslie produced of the five

aforementioned children. More specifically, Mr. Leslie reported to the Government that he had

sexually abused three additional children and took photographs of a fourth child. (Doc. 50, “PSR”

at pg. 8, ¶¶ 16-17.) It cannot be refuted that Mr. Leslie provided fresh information to law

enforcement. On more than one occasion, Mr. Leslie was counseled to provide particulars

unknown to the Government under the guise of an immunity protected agreement, when, because

of the violent nature of the information and data, immunity was specifically excluded from the

agreement. Mr. Leslie admitted to sexually abusing other children, including Child 3, and taking

photos of Child 4. (Id. at pg. 14, ¶ 71.) The Government was able to discover that Mr. Leslie had

produced, received, distributed, and possessed numerous images and videos depicting child

pornography. (Guilty Plea- Factual Basis, Case 3:16-cr-00154-BJD-JBT, PageID 70.) At every

step of the process, Mr. Leslie divulged previously undisclosed information believing that he was

immune from prosecution and believing that he might be eligible for a 5K sentence reduction. The

psycho-sexual evaluation report of Mr. Leslie provided additional information to the Court and

Government that revealed unknown victims and disgusting behaviors by Mr. Leslie.




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                                                 II.
                               PROCEDURAL BACKGROUND


       On October 27, 2016, in the United States District Court for the Middle District of Florida,

Jacksonville Division, a federal grand jury indicted Mr. Leslie with the production of child

pornography, a violation of 18 U.S.C. § 2251, under docket number: 3:16-CR-00154-J-39JBT on

two Counts. October 6, 2017, Mr. Leslie pled guilty to Counts 1 and 2 by way of a plea agreement.

On March 1, 2018, Mr. Leslie received a combined sentence of seven hundred twenty (720) months

in prison, consisting of two, three hundred sixty (360) month terms to run consecutively. An appeal

from the judgment of conviction and sentence was filed in the Eleventh Circuit Court of Appeals

under docket/case number: 18-11183. Per curium opinion on November 9, 2018, the Court held

there were no arguable issues of merit, and the conviction and sentence were affirmed. Mr. Leslie

then filed this action for relief under 28 U.S.C. § 2255.

       For this motion, Mr. Leslie asserts six (6) grounds for which he is being held in violation

of the United States Constitution. (Case 3:19-cv-01300-BJD-JBT, Doc. 12.) The Grounds are as

follows:

           •   Ground 1: Counsel failed to provide effective assistance of counsel
               to Movant by advising Movant to enter into a Proffer Agreement
               when the proffer agreement provided Movant with absolutely no
               protections and exposed Movant to additional crimes and increased
               penalties, all in violation of the Sixth Amendment of the United
               States Constitution.

           •   Ground 2: Counsel failed to provide effective assistance when
               counsel filed the Confidential Psychological Evaluation and Report
               as Exhibit to Sentencing Memorandum, DE #49-4. The report
               revealed additional abhorrent criminal activity, it was highly
               prejudicial, and did not provide useful mitigation in violation of the
               Sixth Amendment of the United States Constitution.



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           •   Ground 3: Counsel failed to provide effective assistance of counsel
               to Movant regarding Movant’s guilty plea in violation of the Sixth
               Amendment of the United States Constitution. Due to this
               ineffective assistance, Movant did not freely make a knowing and
               voluntary plea in violation of the Fifth and Sixth Amendments of
               the United States Constitution.

           •   Ground 4: Counsel was ineffective in the handling of various aspects
               relating to the sentencing in the case in violation of the Sixth
               Amendment of the United States Constitution.

           •   Ground 5: Once counsel advised Movant to proffer for the
               government, and had the Movant disclose additional criminal
               actions to law enforcement which was used against him at
               sentencing, counsel was ineffective in not securing any benefits for
               the movant in violation of the Sixth Amendment of the United States
               Constitution.

           •   Ground 6: Movant’s sentence is disproportional when compared to
               the facts of the case and therefore amounts to cruel and unusual
               punishment in violation of the Eighth Amendment of the United
               States Constitution.


No new facts have been discovered regarding the merits of the underlying case. For the reasons

discussed below, Petitioner Leslie respectfully prays the Court grant his Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255.

                                                III.

                                  MEMORANDUM OF LAW

               Of all the rights that an accused person has, the right to be
               represented by counsel is by far the most pervasive, for it affects his
               ability to assert any other rights he may have. [Procedural rules] are
               designed for those who know [them], and they can become a source
               of entrapment for those who do not. Substantive criminal law also
               presents difficulties to the uninitiated.

Justice Walter V. Schaefer of the Supreme Court of Illinois, Federalism and State Criminal

Procedure, 70 Harv. L. Rev. 1, 8 (1956).


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   A. The Sixth Amendment

       The adversarial process protected by the Sixth Amendment requires that the accused have

“counsel acting in the role of an advocate.” Anders v. California, 386 U.S. 738, 743 (1967). The

Sixth Amendment exists to safeguard the rights of the accused by ensuring that all persons

involved in criminal prosecutions are entitled to certain specifically delineated rights. Under the

Sixth Amendment, in all criminal prosecutions:

               the accused shall enjoy the right to a speedy and public trial, by an
               impartial jury of the State and district wherein the crime shall have
               been committed, which district shall have been previously
               ascertained by law, and to be informed of the nature and cause of
               the accusation; to be confronted with the witnesses against him; to
               have compulsory process for obtaining witnesses in his favor, and
               to have the Assistance of Counsel for his defense.

U.S. Const. amend. VI. (emphasis added). It is generally understood that the Constitution only

guarantees the right to a fair trial, not a perfect one. Riddle v. Ozmint, 369 S.C. 39, 631 S.E.2d 70

(2006). However, one of the cornerstones of a fair criminal proceeding is the right to have

assistance of counsel for one’s defense. The Supreme Court has recognized that “the right to

counsel is the right to the effective assistance of counsel.” McMann v. Richardson, 397 U.S. 759

(1970). The most crucial and operative word being assistance of counsel. If merely having counsel

was all that was warranted, the drafters would not have made it a point to include specific language.

       Since 1984, the Supreme Court has ruled that the right to counsel implies the right to an

effective lawyer. In Strickland v. Washington, the Court developed a two-prong test to devise

whether a court-appointed attorney has given the proper amount of care to a client: 1) the error

prong- whether counsel’s performance is deficient under the circumstances, with performance

measured by the standard of prevailing professional norms, and 2) prejudice prong- whether




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counsel’s performance affected the trial’s outcome, as measured by reasonable probability.

Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052 (1984).

       Where counsel’s performance falls below prevailing industry standards and reasonably

affected the outcome of the trial/sentencing, effective assistance of counsel is not present and

constitutional violations have occurred. Where there is a guilty plea and not a trial the prejudice

prong of the test changes.

               We hold, therefore, that the two-part Strickland v. Washington test
               applies to challenges to guilty pleas based on ineffective assistance
               of counsel. In the context of guilty pleas, the first half of the
               Strickland v Washington test is nothing more than a restatement of
               the standard of attorney competence already set forth in Tollett v.
               Henderson, supra, and McMann v. Richardson, supra. The second,
               or “prejudice,” requirement, on the other hand, focuses on whether
               counsel’s constitutionally ineffective performance affected the
               outcome of the plea process. In other words, in order to satisfy the
               “prejudice” requirement, the defendant must show that there is a
               reasonable probability that, but for counsel’s errors, he would not
               have pleaded guilty and would have insisted on going to trial.
Hill v. Lockhart, 474 U.S. 52, 59 (1985) (citing Strickland v. Washington, 466 U.S. 668 (1984)).

   B. The Fifth Amendment
       In pertinent part, the Fifth Amendment of the United States Constitution provides that no

person shall “be compelled in any criminal case to be a witness against himself.” U.S. Const.

amend. V. This amendment exists to further protect the rights of the accused. In all criminal

prosecutions, clauses incorporated within the Fifth Amendment outline basic constitutional

limitations regarding procedural matters. Ex parte Wilson, 114 U.S. 417, 5 S. Ct. 935, 29 L. Ed.

89, 1885 U.S. LEXIS 1776 (1885). Regarding self-incrimination, this Amendment protects

defendants from having to incriminate themselves through testimony. As evinced in the landmark

case of Miranda v. Arizona, the Supreme Court extended Fifth Amendment protections to



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 encompass any situation outside of the courtroom that involves the curtailment of personal

 freedom. Miranda v. Ariz., 384 U.S. 436, 86 S. Ct. 1602 (1966).

         Commonly known as Miranda Rights, defendants have: the right to remain silent, the right

 to have an attorney present during questioning, and the right to have a government-appointed

 attorney if the defendant cannot afford one. In congruence with the Sixth Amendment, the right to

 a government-appointed attorney means the right to effective assistance of counsel that meets

 prevailing professional norms. Unless the accused receives the effective assistance of counsel, “a

 serious risk of injustice infects the trial itself.” Cuyler v. Sullivan, 446 U.S. 335, 343 (1980). As

 previously mentioned, and will be thoroughly outlined and detailed further below, where

 assistance of government-appointed counsel is so subpar that it does not meet the standard of

 professional norms, constitutional violations have occurred.

    C. The Eighth Amendment


        The constitutional rights detailed in the Eighth Amendment largely pertain to the

 punishment phase of criminal prosecution. The amendment was constructed to restrain

 governmental ability to cause harm to individuals. Specifically, the amendment states “excessive

 bail shall not be required, nor excessive fines imposed, nor cruel and unusual punishments

 inflicted.” U.S. Const. amend. VIII. For decades, the meaning of “cruel and unusual” has been

 debated in reference to original construction and modern application. The drafters originally

 intended this phrase to outlaw certain gruesome methods of punishment (torture, burning at the

 stake, or crucifixion). In more recent times, the definition has been broadened over past years to

 protect against punishments that are grossly disproportionate to the particular crime. In Solem v.

 Helm, 463 U.S. 277 (1983), the Supreme Court held that a sentence may not be disproportionate

 to the crime committed, regardless of whether the crime is a felony or a misdemeanor. The phrase
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 has evolved to regard standards of decency. For example, in the case at bar, because the proffer

 agreement provided no protections, it is cruel and unusual to sentence a defendant for criminal acts

 using enhancement factors the Government originally had no knowledge of and to which Mr.

 Leslie was ill-advised by his counsel to proffer to.

    D. 28 U.S.C. § 2255 Claims


        Where there are grounds for reconsideration of a sentence for someone held in federal

 custody, U.S.C.S. § 2255 provides remedies on motion attacking sentence. In short, the provision

 details how a prisoner claiming certain rights may move the court to vacate, set aside or correct

 the sentence. Subsection (b) in pertinent part states:

                If the court finds that the judgment was rendered without
                jurisdiction, or that the sentence imposed was not authorized by law
                or otherwise open to collateral attack, or that there has been such a
                denial or infringement of the constitutional rights of the prisoner as
                to render the judgment vulnerable to collateral attack, the court shall
                vacate and set the judgment aside and shall discharge the prisoner
                or resentence him or grant a new trial or correct the sentence as may
                appear appropriate.
 28 U.S.C.S. § 2255(b) (LexisNexis, Lexis Advance through Public Law 116-158, approved August

 14, 2020).

        This Court will now decide whether these claims have merit. They do. The standard for

 this is that the petitioner has just cause to and must show that “reasonable jurists would find the

 constitutional claims debatable or wrong,” or that the issues on appeal “deserve encouragement to

 proceed further.” Banks v. United States, No. 20-12012-BB, 2020 U.S. App. LEXIS 28632 (11th

 Cir. Sep. 9, 2020) (citing Slack v. McDaniel, 529 U.S. 473, 484, 120 S. Ct. 1595, 1603-04, 146 L.

 Ed. 2d 524 (2000) (quotations omitted). It is imperative to note Mr. Leslie is not claiming

 innocence from the indicted counts. The crux of this appeal hinges on Mr. Leslie’s constitutional

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 rights to have adequate and fair representation at all constitutionally protected stages of criminal

 litigation.


                                                 III.
                                            ANALYSIS


 Ground One
         Counsel failed to provide effective assistance of counsel to Mr. Leslie by advising Mr.

 Leslie to enter into a Proffer Agreement. The proffer agreement provided Movant with absolutely

 no protections. The information provided to the Government exposed Mr. Leslie to additional

 crimes and increased penalties. Facts from proffer sessions were included in the plea hearing and

 at sentencing. All of this was in violation of the Sixth Amendment of the United States

 Constitution. “We must not determine what the ideal attorney might have done in a perfect world,

 or what the average attorney might have done on an average day; instead, our case-by-case inquiry

 focuses on whether a particular counsel’s conduct was reasonably effective in context.” Atkins v.

 Singletary, 965 F.2d, 952, 958 (11th Cir. 1992). The actions of Mr. Leslie’s counsel were not

 reasonably effective in context.

         As commonly understood, a proffer agreement is a meeting between a criminal

 defendant/suspect and the government that typically takes place at the local United States

 Attorney’s Office, not in a court. Present at such meetings are the defendant, defendant’s counsel,

 a prosecutor and various other investigatory agents. The purpose of proffer meetings and

 agreements are simple: the defendant is expected to share with the government everything he

 knows about the crime in question and the people involved. In return for a defendant’s cooperation,

 he is eligible for a favorable sentencing recommendation. Nothing in the proffer agreement shall

 bind the court. In order for the defendant to enter into such an agreement, the government will

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 typically provide the defendant with certain benefits to further incentivize the defendant telling the

 truth. Though no firm promises can be made regarding the outcome of the case, the government

 typically agrees not to use direct information provided by the defendant against him in court except

 under very limited circumstances. Also standard practice, should the defendant be found guilty,

 the government will not seek to enhance the offense level based on statements made at the proffer

 meeting(s).

        The government cannot make direct use of proffered information. They may make

 derivative use of information, in accordance with Kastigar v. United States, 406 U.S. 441, 92 S.

 Ct. 1653 (1972). In short, the government may pursue investigative leads suggested by the

 defendant. The government may consider such aid as providing substantial assistance in the

 prosecution of another person who has committed an offense. This is recognized as a “5K1

 motion.” As stated in the U.S. Sent'g Guidelines Manual § 5K1.1 provides that “Upon motion of

 the government stating that the defendant has provided substantial assistance in the investigation

 or prosecution of another person who has committed an offense, the court may depart from the

 guidelines.” 18 U.S.C.S. app. § 5K1.1 (LexisNexis). Common knowledge posits no sound person

 with the assistance of adequate and proper counsel would voluntarily incriminate themselves for

 crimes the government had no knowledge of if there was no benefit regarding immunity or direct

 use. “… it was held that, under the Fifth Amendment to the Constitution, which declares that ‘no

 person… shall be compelled in any criminal case to be a witness against himself,’ a person cannot

 be compelled to disclose facts before a court or grand jury which might subject him to a criminal

 prosecution…” Counselman v. Hitchcock, 142 U.S. 547, 12 S. Ct. 195 (1892).

        Here, Mr. Leslie was advised to sign an agreement that essentially held no legal protection.

 The letter was very clear in that the proffer agreement did not apply to violent crimes. It is clear

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 that Mr. Leslie was charged with violent crimes that are not protected by the proffer agreement.

 Taken directly from Documents 20-1, PageID 109 and 20-1 PageID 111:

                Movant entered into a proffer agreement to provide law enforcement
                agents information about “potential violations of federal criminal
                laws involving, but not necessarily limited to violations of 18 U.S.C.
                § 2241, 2251, 2251A, and 2252 et. seq., pertaining to the sexual
                abuse and exploitation of children.” However, in this case, the
                proffer agreement excluded immunity to “crimes of violence.”
                Crimes of violence are defined in the proffer agreement to “include,
                but are not limited to, violations of 18 U.S.C. §§ 2241-2245, 2251,
                2251A, 2252(g) – including conspiracy to violate these sections,
                attempt to violate these sections, and aiding and abetting violations
                of these sections – as well as the rape or sexual abuse of a minor.”


 (Case 3:19-cv-01300-BJD-JBT, Doc. 20-1.) The federal crimes that Mr. Leslie was expected to

 provide information about were the exact crimes excluded from immunity in the agreement.

        A more blatant miscarriage of justice than incriminating himself, is that Mr. Leslie was

 legally advised to do so. It cannot be held as common standard practice for one’s own counsel to

 advise them to sign an agreement that offers no protection. As previously stated, adequate

 assistance of counsel is what is commonly accepted in the profession. In its Response in Opposition

 to Mr. Leslie’s Motion as found on page 11 of Doc. 20, the Government cites to Waters v. Thomas

 in referencing Strickland:

                The test has nothing to do with what the best lawyers would have
                done. Nor is the test even what most good lawyers would have done.
                We only ask whether some reasonable lawyer at the trial could have
                acted, in the circumstances, as defense counsel acted at trial… We
                are not interested in grading lawyers’ performances; we are
                interested in whether the adversarial process at trial, in fact, worked
                adequately.
 Waters v. Thomas, 46 F.3d 1506, 1512 (11th Cir. 1995). The Waters passage highlighted by the

 Government is the very premise Mr. Leslie asserts as grounds for his ineffective assistance of


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 counsel. The totality of actions by Mr. Leslie’s defense attorney do not constitute anything a

 “reasonable lawyer” would have done. An adversarial process cannot work “adequately” when

 there is no one advocating for the best interests of the accused.

        Though all involved parties are seeking justice, the behavior of Leslie’s previous counsel

 stands out as a stark instance of injustice. If one cannot adequately and zealous represent his client

 in accordance with the Florida Professional Rules of Conduct, withdrawal is proper. As stated in

 the Preamble of Rule 4 of the Florida Rules of Professional Conduct:

                A lawyer’s responsibilities as a representative of clients, an officer
                of the legal system, and a public citizen are usually harmonious.
                Zealous advocacy is not inconsistent with justice. Moreover, unless
                violations of law or injury to another or another’s property is
                involved, preserving client confidences ordinarily serves the public
                interest because people are more likely to seek legal advice, and
                heed their legal obligations, when they know their communications
                will be private.
 FL Rules of Prof’l Conduct Rule 4, (2020). Nowhere can it be found that appointed counsel should

 advise their client to sign an agreement that further incriminates them. As plainly stated in the

 Presenting Report (which was relied upon during the sentencing hearing):

        Leslie later cooperated with law enforcement and provided his computer
        passwords. Forensic review of his electronic devices revealed approximately
        33,000 images and videos of child pornography. These images include videos
        Leslie produced of the five aforementioned children… In subsequent proffer
        protected interviews, Leslie reported sexually abusing three additional children and
        taking photographs of a fourth child. Two of these belong to his former girlfriend,
        K.B.
 (“PSR” Case 3:16-cr-00154-BJD-JBT, Doc. 50, pg. 8, ¶ 16-17.) When Mr. Leslie was originally

 indicted and was counseled to sign the ill-advised proffer agreement, the government did not have

 sufficient evidence to warrant suggesting nothing less than a fifty (50) year sentence. Furthermore,

 the illusion of the “5.K1” only helped the Government further criminalize Mr. Leslie when they

 had full knowledge there was nothing he could provide them that would aid favorably in his
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 sentencing. “[[t]he issue is not what is possible or what is prudent and appropriate, but only what

 is constitutionally compelled.” Burger v. Kemp, 483 U.S. 776, 795 (1987) (citing United States v.

 Cronic, 466 U.S. 648, 665 n.38 (1984)). Mr. Leslie has a constitutionally compelled right to

 effective assistance of counsel. “Thus, counsel cannot be adjudged incompetent for performing in

 a particular way in a case, as long as the approach taken ‘might be considered sound trial strategy.”

 Darden v. Wainwright, 477 U.S. 168, 186 (1986) (citing Strickland v. Washington, 466 U.S. 668,

 689 (1984) (quoting Michel v. Louisiana, 350 U.S. 91, 101 (1955))). To counsel one’s client to

 sign a proffer agreement that provided no protection against the charges asserted, to counsel one’s

 client to further incriminate himself, and to make public record of privileged documents cannot be

 considered sound trial strategy.

        This case is a case of first impression simply because there is not any case law that evinces

 how such actions could ever be deemed proper or appropriate.


 Ground Two
        Counsel failed to provide effective assistance when counsel filed the Confidential

 Psychological Evaluation and Report as an exhibit to the sentencing memorandum, (3:16-cr-154-

 J-39JBT, Doc. 49, DE #49-4.) The report revealed additional abhorrent criminal activity, it was

 highly prejudicial, and did not provide useful mitigation in violation of the Sixth Amendment of

 the United States Constitution.

        In support of Ground Two, it is the Government’s own words as evidenced in the

 Sentencing Transcript that are most telling: “The psych report that was contained in the – attached

 to the sentencing memorandum, the Court know that oftentimes the United States will object to

 the admission of reports. We didn’t object to the admission of the report this time for several

 reasons…”. (Sentencing Transcript, Case 3:16-cr-00154-BJD-JBT Doc. 66, pg. 35, 1-6.) The


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 record in this case has multiple acknowledgements of how it is not common practice to include

 such a privileged document as a mere exhibit to the record. The Government directly

 acknowledged that “oftentimes” it objects to admission of such a report. However, when the

 admission of said document primarily serves to bolster the government’s position, it was to the

 government’s advantage to allow the report in. As stated in Exhibit 1 to the Motion Under 28

 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By a Person in Federal Custody: “This

 confidential Psychological Evaluation and Report was so incriminatory, that the government did

 not object to its admission and instead welcomed the report.” (Case 3:19-cv-01300-BJD-JBT,

 DOC 12-1, pg. 3.) Continuing: “In summary, to file such an inculpatory report, when the only

 benefit it added to the case was that the Movant had an official diagnosis of pedophilia, when the

 facts of the case made that perfectly clear without the report, denied the movant of his effective

 assistance of counsel.” Id.

        In the 2008 case United States v. James MacEwan, the court addressed the Strickland

 standards yet again. Here, Petitioner was charged with a three-count indictment for the receipt of

 child pornography in violation of 18 U.S.C. § 2252(A)(a)(2)(b). United States v. MacEwan, No.

 CIV. A. 07-3369, 2008 WL 862396 (E.D. Pa. Mar. 31, 2008). Petitioner argued that he was

 erroneously advised by his counsel and asserts his guilty plea and waiver of the jury trial were

 improperly influenced through coercion of his prior counsel. The court, citing Strickland, opined:

 “Even if Petitioner establishes that counsel’s conduct was ‘professionally unreasonable,’ the Sixth

 Amendment is not violates unless there is a reasonable probability that but for counsel’s

 unprofessional errors, the result of the proceeding would have been different.” Strickland v.

 Washington, 466 U.S. 668, 694 (1984). The MacEwan court ultimately held that that Petitioner

 did not meet the necessary burden of showing that the result of his proceedings would have been



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 different. Mr. Leslie’s case is distinguished from MacEwan primarily because of that very

 assertion. Mr. Leslie’s motion and subsequent petition are based on the result of his proceedings

 and how his result would have been starkly different had he been afforded effective assistance of

 counsel.

        Several courts have weighed in on things to consider when addressing ineffective

 assistance of counsel claims. United States v. Donell Hatcher was a possession with intent to

 distribute case, where there were several discrepancies regarding the knowing waiver of certain

 rights. United States v. Hatcher, No. CR 3:09-625 WBS, 2015 WL 13466140 (N.D. Cal. Feb. 5,

 2015). Customary procedure of challenging the effectiveness of defense counsel was referenced

 by way of citing to the Ninth Circuit:

                The Ninth Circuit has indicated it “will not consider an ineffective
                assistance claim on direct appeal, unless [1] the record is sufficiently
                developed” so that the court can determine “what counsel did, why
                it was done, and what, if any, prejudice resulted” or “[2] the legal
                representation was obviously inadequate.”

 Hatcher at 3 (citing United States v. Jackson, 546 Fed.Appx. 643, 645 (9th Cir. 2013)).

        It could not be considered sound trial strategy to include the psycho-sexual evaluation

 report to prove that defendant was a pedophile. It would be safe to that ninety-five (95) percent of

 people charged with the production of child pornography are pedophiles. Congress, with all its

 information, knew of pedophiles and nevertheless made this type of pornography illegal.

        Mr. Leslie has made it a point to begin the process of sufficiently developing the record as

 to his claims so that a court can ascertain what his previous counsel did, why it was done, and how

 it has all unjustly prejudiced him. The noteworthy issue here is not determining whether the court

 would have definitively reached a different result, but rather the premise that there exists a

 reasonable probability sufficient to undermine confidence in the previous outcome.



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 Ground Three
         Counsel failed to provide effective assistance of counsel to Mr. Leslie regarding Mr.

 Leslie’s guilty plea in violation of the Sixth Amendment of the United States Constitution. Due to

 this ineffective assistance, Mr. Leslie did not freely make a knowing and voluntary plea in violation

 of the Fifth and Sixth Amendments of the United States Constitution.

                 The plea agreement also stated that “defendant acknowledges that
                 defendant is entering into this agreement and is pleading guilty
                 freely and voluntarily without reliance upon any discussions
                 between the attorney for the government and the defendant and
                 defendant’s attorney.” This waiver does not make sense because of
                 course Movant relied on information that was provided to him by
                 his attorney in making decisions. That is the entire purpose of having
                 effective assistance of counsel when charged with a crime.
 (Case 3:19-cv-01300-BJD-JBT, DOC 12-1, pg. 4.) Mr. Leslie would have been better advised to

 plead guilty without the limitations of a Plea Agreement. The plea agreement limited his ability to

 appeal his sentence when the Government retained its full rights to appeal. The Government did

 not give any consideration for its portion of the deal. The Government did not waive any rights.

 The promise of a 5K1.1 cannot be consideration because the Government could file this motion

 even if it was not part of the plea deal.

         Mr. Leslie would not have entered into a guilty plea, waiving most of his appeal rights

 regarding his sentence without the advice of his counsel. To reiterate, the Sixth Amendment exists

 to safeguard the rights of the accused by ensuring that all persons involved in criminal prosecutions

 are entitled to certain specifically delineated rights. U.S. Const. amend. VI. Mr. Leslie’s rights

 were plainly violated when he was counseled to enter into a plea agreement that was entirely

 against his best interest.




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 Ground Four
        Counsel was ineffective in the handling of various aspects relating to the sentencing in the

 case in violation of the Sixth Amendment of the United States Constitution. Though Movant’s

 mother read a statement at his sentencing hearing, Leslie’s counsel failed to present any witnesses

 or evidence at said hearing. (Case 3:19-cv-01200-BJD-JBT, Doc. 12, pg. 8.) It was Leslie’s mother

 that provided counsel with many corrections to the pre-sentence report (“PSR”). It is not too far-

 fetched to understand that, at a bare minimum, adequate assistance of counsel would at least render

 an articulate review of all court documents to prevent errors and objections in the record. Leslie

 could not receive fair assistance of counsel by someone who was either not aware, or not

 concerned, with the variety of errors in court documentation. “Even with the noted objections and

 corrections, some inaccuracies remained in the pre-sentence investigation report. This failure

 deprived Movant of effective assistance of counsel.” Id.

 Ground Five
        Once counsel advised Movant to proffer for the government, and had the Movant disclose

 additional criminal actions to law enforcement which was used against him at sentencing, counsel

 was ineffective in not securing any benefits for the movant in violation of the Sixth Amendment

 of the United States Constitution. Counsel did not meet this minimum requirement of simply

 advocating for his client, it was as if Leslie was not represented at all. “Counsel allowed the

 Movant to be fully de-briefed by the government without negotiating or attempting to negotiate

 any benefit for Movant, either through a more favorable plea agreement or a recommendation by

 the government of a sentencing reduction to the court that the sentencing hearing.” (Case 3:19-cv-

 01300-BJD-JBT, Doc. 12-1, pg. 5.) See arguments supra.




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 Ground Six
        Mr. Leslie’s sentence is disproportional when compared to the facts of the case and

 therefore amounts to cruel and unusual punishment. This is in violation of the Eighth Amendment

 of the United States Constitution. Mr. Leslie has not, and does not, discount the seriousness of the

 offenses involved in his case. One must consider “only the facts known to the government” before

 Mr. Leslie’s proffer or psychological report were introduced. He was charged with production of

 child pornography regarding two (2) children. In order to gauge this crime when compared to other

 child pornography production cases, “one must look candidly at the factors involved.” (Case 3:19-

 cv-01300-BJD-JBT, Doc. 12-1, pg. 6.)

        The only way the Government had knowledge of other criminal behavior was through the

 introduction of a proffer agreement that offered no viable protections to Mr. Leslie and because of

 a privileged document becoming part of the record. Had Mr. Leslie had representation even equal

 to what is accepted as the industry standard, the Government would not have any just cause to

 favor a maximum sentence. The actual charges Mr. Leslie faced, while very much a disquieting

 factor, would not have warranted the sentence that was executed if adjudicated properly. For these

 reasons, a sentence at the top of the guideline range is not in proportion to the facts of this case. A

 sentence of sixty years amounts to cruel and unusual punishment for Mr. Leslie. Additionally, in

 light of Mr. Leslie’s appointed counsel’s lack to effective assistance in accordance with acceptable

 industry practices, it is cruel and unusual to not grant Mr. Leslie a new trial with adequate

 representation.




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                                                IV.
                                         CONCLUSION


        WHEREFORE, Mr. Leslie respectfully requests this Honorable Court grant the Motion to

 Vacate, Set Aside, or Correct Judgment and Sentence by a Person in Federal Custody. The

 egregiousness with which Mr. Leslie was not afforded effective assistance of counsel as a right,

 granted by the United States Constitution, disproportionately prejudiced the case and subsequent

 sentencing. In accordance with 28 U.S.C.S. § 2255, Mr. Leslie respectfully requests this Court

 vacate the guilty plea and set aside the judgment and resentence him or correct the sentence as may

 appear appropriate.




                                                      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE
         I hereby certify that on September 28, 2020, I electronically filed this document with the
 Clerk of the Court by using the CM/ECF system, and the notice of electronic filing was sent to
 the following CM/ECF participants:
                               D. Rodney Brown, Esq.
                               Charles L. Truncale, Esq
                               Lauren E. Britsch, Esq.




                                                      s/ Jennifer Lynn Thompson
                                                      JENNIFER LYNN THOMPSON
                                                      Attorney for Petitioner




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